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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    KIM RHODE, et al.,                                 Case No.: 18-cv-00802-BEN-JLB
12                                     Plaintiffs,
                                                         ORDER:
13    v.
                                                         (1) GRANTING JOINT MOTION TO
14    XAVIER BECERRA,
                                                         VACATE MANDATORY
15                                    Defendant.         SETTLEMENT CONFERENCE;
                                                         AND
16
17                                                       (2) VACATING MANDATORY
                                                         SETTLEMENT CONFERENCE
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19
                                                         [ECF Nos. 49; 50]
20
21         Before the Court is the parties’ Joint Motion to Vacate the Mandatory Settlement
22   Conference. (ECF No. 50.) The parties represent that they “have discussed the possibility
23   of settlement and do not believe this case has any chance of settling.” (Id. at 1.) The sole
24   issue in this case is the constitutionality of California gun control legislation. Plaintiffs
25   represent that they “have no intention of dismissing this lawsuit unless Defendant ceases
26   enforcement of the challenged provisions.” (Id. at 2.) Defendant maintains that “the
27   challenged provisions are constitutional and duly enacted.” (Id.) Defendant posits that
28   “[g]iven the Attorney General’s sworn duty to uphold the laws of the State, the Attorney

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 1   General cannot excuse Plaintiffs from compliance with the challenged provisions or
 2   otherwise refuse to enforce them.” (Id. (citing Cal. Const. art. III, § 3.5).) As such, the
 3   Court finds that holding a Mandatory Settlement Conference (“MSC”) would be a waste
 4   of resources for the parties and the Court with no practical possibility of settlement.
 5         Accordingly, for good cause shown, the Court hereby GRANTS the parties’ joint
 6   motion and VACATES the February 21, 2020 MSC. The Court will reschedule the MSC
 7   if directed to do so by Judge Benitez. See CivLR 16.1.d.4. Further, the Court may
 8   reschedule the MSC upon request of any party.
 9         IT IS SO ORDERED.
10   Dated: January 16, 2020
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